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  7   Attorneys for The Huntington Beach Gables Homeowners Association
  8                              UNITED STATES BANKRUPTCY COURT
  9              CENTRAL DISTRICT OF CALIFORNIA - SANTA ANA DIVISION
 10
 11   In re:                                           Case No. 8:21-bk-11710-SC
 12   JAMIE LYNN GALLIAN,
                                                       Chapter 7
 13                                                    Adv. No. 8:21-ap-01095-SC
 14                 Debtor.
                                                       MOTION TO CONTINUE PRE-TRIAL
 15                                                    CONFERENCE

 16
 17
      THE HUNTINGTON BEACH GABLES                      Pre-Trial Conference
 18   HOMEOWNERS ASSOCIATION, a California             Hearing Date: September 27, 2022
      nonprofit mutual benefit corporation,            Time:         1:30 p.m.
 19                                                    Courtroom: 5C
 20                 Plaintiff,
 21   vs.

 22
      JAMIE L GALLIAN, an individual; RANDALL
 23   L NICKEL, an individual, and DOES 1 through
      100, inclusive,
 24
 25                 Defendants.

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  1          TO     THE     HONORABLE          SCOTT       C.   CLARKSON,         UNITED       STATES
  2   BANKRUPTCY JUDGE, AND ALL PARTIES ENTITLED TO NOTICE:
  3          This Motion to Continue Pre-Trial Conference (the “Motion”) is filed by Plaintiff, The
  4   Huntington Beach Gables Homeowners Association (“Plaintiff”). This Motion is made with
  5   reference to the following recitals:
  6                                             RECITALS
  7          1.      On or about July 9, 2021, Jamie Lynn Gallian (“Debtor”) filed a voluntary
  8   petition under Chapter 7 of the Bankruptcy Code.
  9          2.      On October 18, 2021, Plaintiff filed a Complaint (the “Complaint”) to (1) Set
 10   Aside Voidable Transfer; (2) for Declaratory Relief Establishing Validity of Lien, (3) to Object
 11   to Discharge Under Section 523(a)(2) (Actual Fraud), and (4) to Object to Discharge Under
 12   Section 727(a)(5), initiating the above captioned adversary proceeding on October 18, 2021 (the
 13   “Adversary Proceeding”).
 14          3.   Defendant Randall Nickel was named as a defendant in only Claim 1 for Relief as
 15   the transferee of a fraudulent transfer for the real property located at 4476 Alderport Drive, Unit
 16   53, Huntington Beach, California 92649 (“Unit 53”), which is the predicate question for
 17   Plaintiff’s Claim 3 against Debtor under Husky Intern. Electronics, Inc. v. Ritz, 136 S. Ct. 158
 18   (2016), in which the Supreme Court held that a fraudulent transfer is fraud within the meaning of
 19   Section 523(a)(2) of the Bankruptcy Code.
 20          4.   On October 28, 2021, Debtor filed her answer to the Complaint. (Docket No. 4.)
 21          5.   On October 28, 2021, Debtor filed multiple amended answers to the Complaint
 22   (Docket Nos. 5, 6, and 7.)
 23          6.      On November 16, 2021, Defendant Randall Nickel filed a Motion to Dismiss the
 24   Complaint as to himself for lack of jurisdiction. (Docket No. 9.)
 25          7.   On January 27, 2022, the Court granted Mr. Nickel’s motion to dismiss for lack of
 26   jurisdiction on the ground, at that time, that only the Chapter 7 Trustee may seek to avoid a
 27   fraudulent transfer of Unit 53. (Docket No. 32, at 2.)
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  1          8.      Since that time, on August 25, 2022, the Chapter 7 Trustee in the Main
  2   Bankruptcy Case has filed his Notice of Intent to Abandon Estate’s Interest in Claims against
  3   Randall L. Nickel Relating to the October 2018 Transfer of the Debtor’s Interest in the Property
  4   Commonly Known as 4476 Alderpoirt Drive, #53, Huntington Beach, California 92649 (Main
  5   Bankruptcy Case, Docket No. 201) (“Notice of Abandonment”). If, by September 12, 2022,
  6   there are no objections to the Notice of Abandonment, then the Plaintiff’s Claims against Mr.
  7   Nickel for fraudulent transfer of Unit 53 will again be the Plaintiff’s to prosecute, and the
  8   Plaintiff may seek to re-join Mr. Nickel as a necessary Defendant in this Action. Plaintiff needs
  9   additional time to assess next steps to potentially amend the Complaint and include Mr. Nickel
 10   as a defendant given the significantly-altered posture of the case.
 11          9.      In the interest of efficiency for all parties and the Court, Plaintiff would like to

 12   continue the pre-trial conference for at least sixty (60) days or as the Court deems appropriate so

 13   that the Plaintiff may seek leave to amend the Complaint, if advisable.

 14          10.     The Motion does not constitute a waiver of any rights.

 15          WHEREFORE, based on the foregoing recitals, Plaintiff requests the hearing on the Pre-

 16   Trial Conference to be continued for at least sixty (60) days or as the Court deems appropriate.

 17
      Dated: September 2, 2022                               Respectfully submitted,
 18
                                                             GOE FORSYTHE & HODGES LLP
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 20
                                                             By: /s/ Brandon J. Iskander
 21                                                               Robert P. Goe
                                                                  Brandon J. Iskander
 22                                                               Attorneys for Huntington Beach Gables
                                                                  Homeowners Association
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  1                             PROOF OF SERVICE OF DOCUMENT
      I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business
  2   address is: 18101 Von Karman Avenue, Suite 1200, Irvine, CA 92614
  3   A true and correct copy of the foregoing document entitled (specify): MOTION TO CONTINUE PRE-
      TRIAL CONFERENCE will be served or was served (a) on the judge in chambers in the form and manner
  4   required by LBR 5005-2(d); and (b) in the manner stated below:

  5   1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to
      controlling General Orders and LBR, the foregoing document will be served by the court via NEF and
  6   hyperlink to the document. On (date) September 2, 2022, I checked the CM/ECF docket for this bankruptcy
      case or adversary proceeding and determined that the following persons are on the Electronic Mail Notice
  7   List to receive NEF transmission at the email addresses stated below:

  8          Robert P Goe kmurphy@goeforlaw.com, rgoe@goeforlaw.com;goeforecf@gmail.com
             Jeffrey I Golden (TR) lwerner@go2.law, jig@trustesolutions.net;kadele@go2.law
  9          Brandon J Iskander biskander@goeforlaw.com, kmurphy@goeforlaw.com
             Mark A Mellor mail@mellorlawfirm.com, mellormr79158@notify.bestcase.com
 10          United States Trustee (SA) ustpregion16.sa.ecf@usdoj.gov

 11   2. SERVED BY UNITED STATES MAIL:
      On (date) September 2, 2022, I served the following persons and/or entities at the last known addresses in
 12   this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed
      envelope in the United States mail, first class, postage prepaid, and addressed as follows: Listing the judge
 13   here constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the
      document is filed.
 14
        Jamie Lynn Gallian                                      Michael D Poole
 15     16222 Monterey Ln Unit 376                              Feldsott & Lee
        Huntington Beach, CA 92649                              23161 Mill Creek Dr Ste 300
 16                                                             Laguna Hills, CA 92653

 17   3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL:
      (state the method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on
      (date) September 2, 2022, I served the following persons and/or entities by personal delivery, overnight
 18   mail service, or (for those who consented in writing to such service method), by facsimile transmission
      and/or email as follows: Listing the judge here constitutes a declaration that personal delivery on, or
 19   overnight mail to, the judge will be completed no later than 24 hours after the document is filed.
 20        The Honorable Scott Clarkson, USBC, 411 West Fourth Street, Santa Ana, CA 92701
           (SUSPENDED DUE TO COVID-19 PROTOCOLS)
 21
      I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.
 22
       September 2, 2022             Susan C. Stein                          /s/Susan C. Stein
 23    Date                     Printed Name                                 Signature

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